                                         Case 3:07-cv-05944-JST Document 4671 Filed 06/10/16 Page 1 of 1




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                                   4                                UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

                                   9
                                        This Order Relates To:                             ORDER AMENDING TRIAL
                                  10                                                       SCHEDULING ORDER
                                  11    ALL ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to the Court’s prior order, ECF No. 4658, and having considered the lone

                                  14   response to that order, ECF No. 4662, the Court hereby amends its prior trial scheduling order as

                                  15   follows:

                                  16   Sears/Kmart Trial

                                  17      1. Pretrial conference: December 12 and 13, 2016

                                  18      2. Trial: January 9, 2017

                                  19   Sharp Trial

                                  20      1. Pretrial conference: February 7 and 8, 2017

                                  21      2. Trial: March 6, 2017

                                  22          The deadlines previously set with respect to the DPP case, ECF No. 4628, remain in effect.

                                  23          IT IS SO ORDERED.

                                  24   Dated: June 10, 2016
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                                                                                                    JON S. TIGAR
                                  26                                                          United States District Judge

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